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      In The United States Court of Federal Claims
                                            No. 11-775L

                                      (Filed: December 16, 2011)
                                              __________
 PETRO-HUNT, L.L.C.,

                         Plaintiff,

        v.

 THE UNITED STATES,

                         Defendant.
                                             __________

                                              ORDER
                                             __________

       On November 17, 2011, plaintiff filed a motion to stay this case. On December 5, 2011,
defendant filed its response opposing the stay. Accordingly:

       1.       Plaintiff’s motion to stay is GRANTED, in part.

       2.       On or before January 17, 2012, defendant shall file its response to
                plaintiff’s complaint.

       3.       All other proceedings in this case are stayed until further order.

       IT IS SO ORDERED.



                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
